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               IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS


IN RE:                                                                        In Proceedings
                                                                              Under Chapter 11
Carrie L Shoppell Inc
dba Kentucky Fried Chicken Wood                                               BK 05−33609
River
             Debtor(s)
SSN/FIN: 36−4145551




                                      FINAL DECREE

The estate of the above named debtor has been fully administered.
IT IS ORDERED THAT:
The chapter 11 case of the above named debtor is closed.

ENTERED: September 29, 2006                                /s/ Kenneth J. Meyers
                                                           UNITED STATES BANKRUPTCY JUDGE
